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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

ROBERT HARRIS, ET AL.                                                                PLAINTIFFS

VS.                                               CIVIL ACTION NO. 3:22-CV-479-TSL-MTP

SAM DOBBINS, ET AL.                                                                DEFENDANTS

                DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFFS’ COMPLAINT

        Municipal Defendants the City of Lexington, Mississippi, and Charles Henderson, in his

individual and official capacities as Interim Chief of Police of Lexington, Mississippi

(“Municipal Defendants”), submit this Answer and Affirmative Defenses to Plaintiffs Robert

Harris, Darius Harris, Eric Redmond, Malcolm Stewart, and Peter Reeves’ (“Plaintiffs”)

Complaint (“complaint”).

                              FIRST AFFIRMATIVE DEFENSE

        Plaintiffs’ complaint fails to state a claim upon which relief can be granted, in whole or in

part.

                             SECOND AFFIRMATIVE DEFENSE

        Municipal Defendants plead all applicable statutes of limitations.

                              THIRD AFFIRMATIVE DEFENSE

        To the extent that Plaintiffs did not exhaust their pre-suit remedies or obligations for

some or all of their allegations, claims, or theories, those allegations, claims, or theories may not

be pursued in this action.

                             FOURTH AFFIRMATIVE DEFENSE

        Municipal Defendants affirmatively plead that an award of punitive damages would

amount to a violation of the United States and Mississippi Constitutions.



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                              FIFTH AFFIRMATIVE DEFENSE

        Municipal Defendants plead the defenses of good faith and/or honest belief.

                              SIXTH AFFIRMATIVE DEFENSE

        To the extent applicable, Plaintiffs’ claims are barred by the doctrines of collateral,

equitable, and/or judicial estoppel and/or res judicata.

                            SEVENTH AFFIRMATIVE DEFENSE

        Municipal Defendants plead after-acquired evidence.

                             EIGHTH AFFIRMATIVE DEFENSE

        To the extent Plaintiffs have failed to comply with their duty to mitigate their request for

damages, their entitlement to which is expressly denied, such damages must be reduced.

                              NINTH AFFIRMATIVE DEFENSE

        Municipal Defendants possesses sovereign, absolute, course and scope, and/or qualified

immunity herein from suit and/or liability and/or damages.

                              TENTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiffs seek special damages, such damages have not been

specifically stated.

                           ELEVENTH AFFIRMATIVE DEFENSE

        Municipal Defendants are entitled to an award of attorney’s fees because this action is

vexatious and was brought in bad faith.

                            TWELFTH AFFIRMATIVE DEFENSE

        Municipal Defendants plead all statutory damage caps, including those applicable to

requests for compensatory and punitive damages.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        Municipal Defendants plead the doctrine of unclean hands.



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                         FOURTEENTH AFFIRMATIVE DEFENSE

        Municipal Defendants acted in good faith at all times in their conduct toward Plaintiffs,

and Plaintiffs’ own actions, or the actions of a third party for whom Municipal Defendants are

not responsible, were the proximate and superseding cause of any damages Plaintiffs may have

sustained. Municipal Defendants invoke all applicable contribution and comparative fault

principles.

                           FIFTEENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ alleged injuries were not caused by a policy or custom of the City of

Lexington. Therefore, there is no municipal liability under federal law.

                           SIXTEENTH AFFIRMATIVE DEFENSE

        To the extent applicable, Plaintiffs lack standing.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

        Some or all of Plaintiffs’ claims, allegations, and theories are barred by the doctrine of

Heck v. Humphrey, 512 U.S. 477 (1994).

                          EIGHTEENTH AFFIRMATIVE DEFENSE

        This Court should abstain from hearing some or all of Plaintiffs’ claims, allegations,

theories, and/or requested remedies.

                                             ANSWER

        Without waiving any affirmative defenses, and reserving the right to assert further

affirmative defenses as they become evident through discovery or further investigation,

Municipal Defendants respond to the Complaint as follows:

                                PRELIMINARY STATEMENT

        1.      Municipal Defendants deny the allegations contained in paragraph 1 of the

complaint.


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        2.      Municipal Defendants deny the allegations contained in paragraph 2 of the

complaint.

        3.      Municipal Defendants deny the allegations contained in paragraph 3 of the

complaint.

        4.      Municipal Defendants deny the allegations contained in paragraph 4 of the

complaint.

        5.      Municipal Defendants deny the allegations contained in paragraph 5 of the

complaint.

        6.      Municipal Defendants deny the allegations contained in paragraph 6 of the

complaint as stating legal conclusions and further deny that Plaintiffs are entitled to any relief

whatsoever.

        7.      Municipal Defendants deny the allegations contained in paragraph 7 of the

complaint.

        8.      Municipal Defendants deny the allegations contained in paragraph 8 of the

complaint.

        9.      In response to the allegations contained in paragraph 9 of the complaint,

Municipal Defendants admit only that Plaintiff filed this lawsuit. Municipal Defendants deny

that Plaintiffs are entitled to any relief whatsoever.

        10.     Municipal Defendants deny the allegations contained in paragraph 10 of the

complaint.

                                          JURISDICTION

        11.     Municipal Defendants deny the allegations contained in paragraph 11 of the

complaint as calling for legal conclusions. Municipal Defendants further deny that this Court

has jurisdiction over the equitable relief sought in the complaint.


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       12.      Municipal Defendants deny the allegations contained in paragraph 12 of the

complaint as stating legal conclusions.

       13.      Municipal Defendants deny the allegations contained in paragraph 13 of the

complaint as stating legal conclusions.

        14.     Municipal Defendants deny the allegations contained in paragraph 14 of the

complaint as stating legal conclusions.

                                                VENUE

        15.     Municipal Defendants deny the allegations contained in paragraph 15 of the

complaint as stating legal conclusions.

                                          JURY DEMAND

        16.     The allegations contained in paragraph 16 of the complaint do not appear to

require a response. But, to the extent a response is required, the allegations are denied.

                                            PARTIES

        17.     Municipal Defendants deny the allegations contained in paragraph 17 of the

complaint for lack of sufficient information.

        18.     Municipal Defendants deny the allegations contained in paragraph 18 of the

complaint.

        19.     Municipal Defendants deny the allegations contained in paragraph 19 of the

complaint for lack of sufficient information.

        20.     Municipal Defendants deny the allegations contained in paragraph 20 for lack of

sufficient information.

        21.     Municipal Defendants deny the allegations contained in paragraph 21 of the

complaint for lack of sufficient information.




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        22.     Municipal Defendants deny the allegations contained in paragraph 22 of the

complaint.

        23.     Municipal Defendants deny the allegations contained in paragraph 23 of the

complaint.

        24.     Municipal Defendants admit the allegations contained in paragraph 24 of the

complaint.

        25.     Municipal Defendants admit the allegations contained in paragraph 25 of the

complaint.

        26.     Municipal Defendants deny the allegations contained in paragraph 26 of the

complaint for lack of sufficient information.

                                 FACTUAL ALLEGATIONS

        27.     Municipal Defendants deny the allegations contained in paragraph 27 of the

complaint.

        28.     Municipal Defendants deny the allegations contained in paragraph 28 of the

complaint.

        29.     Municipal Defendants deny the allegations contained in paragraph 29 of the

complaint.

A.      Robert and Darius Harris:

        30.     Municipal Defendants deny the allegations contained in paragraph 30 of the

complaint.

        31.     Municipal Defendants deny the allegations contained in paragraph 31 of the

complaint.

        Municipal Defendants deny the allegations contained in the unnumbered paragraphs

following several photographs to the extent that they conflict with video footage of the incident.


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        32.     Municipal Defendants deny the allegations contained in paragraph 32 and

footnote 1 of the complaint.

        33.     Municipal Defendants deny the allegations contained in paragraph 33 of the

complaint.

        34.     Municipal Defendants deny the allegations contained in paragraph 34 of the

complaint.

        35.     Municipal Defendants deny the allegations contained in paragraph 35 of the

complaint.

        36.     Municipal Defendants deny the allegations contained in paragraph 35 of the

complaint.

        37.     Municipal Defendants deny the allegations contained in paragraph 37 of the

complaint.

B.      Peter Reeves:

        38.     Municipal Defendants deny the allegations contained in paragraph 38 of the

complaint.

        39.     Municipal Defendants deny the allegations contained in paragraph 39 of the

complaint.

        40.     Municipal Defendants deny the allegations contained in paragraph 40 of the

complaint.

        41.     Municipal Defendants deny the allegations contained in paragraph 41 of the

complaint.

        42.     Municipal Defendants deny the allegations contained in paragraph 42 of the

complaint.




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        43.     Municipal Defendants deny the allegations contained in paragraph 43 of the

complaint.

        44.     Municipal Defendants deny the allegations contained in paragraph 44 of the

complaint.

C.      Eric Redmond:

        45.     Municipal Defendants deny the allegations contained in paragraph 45 of the

complaint.

        46.     Municipal Defendants deny the allegations contained in paragraph 46 of the

complaint.

        47.     Municipal Defendants deny the allegations contained in paragraph 47 of the

complaint.

        48.     Municipal Defendants deny the allegations contained in paragraph 48 of the

complaint as incomplete.

D.      Malcolm Stewart:

        49.     Municipal Defendants deny the allegations contained in paragraph 49 of the

complaint.

        50.     Municipal Defendants deny the allegations contained in paragraph 50 of the

complaint.

        51.     Municipal Defendants deny the allegations contained in paragraph 51 of the

complaint.

        52.     Municipal Defendants deny the allegations contained in paragraph 52 of the

complaint.

        53.     Municipal Defendants deny the allegations contained in paragraph 53 of the

complaint.


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        54.     Municipal Defendants deny the allegations contained in paragraph 54 and

footnote 2 of the complaint.

        55.     Municipal Defendants deny the allegations contained in paragraph 55 of the

complaint.

        56.     Municipal Defendants deny the allegations contained in paragraph 56 of the

complaint.

        57.     Municipal Defendants deny the allegations contained in paragraph 57 and

footnote 3 of the complaint.

E.       Chief Henderson In His Individual Capacity Has Regularly Used Excessive Force
         and LPD Maintains An Ongoing Pattern, Practice, and/or Custom of Using
         Unnecessary Force.

        58.     Municipal Defendants deny the allegations contained in paragraph 58 of the

complaint as misleading.

        59.     Municipal Defendants deny the allegations contained in paragraph 59 of the

complaint.

        60.     Municipal Defendants deny the allegations contained in paragraph 60 of the

complaint.

        61.     Municipal Defendants deny the allegations contained in paragraph 61 of the

complaint.

F.        LPD Maintains An Ongoing Pattern, Practice, and/or Custom of Making Illegal
          Searches, Seizures, and False Arrests.

        62.     Municipal Defendants deny the allegations contained in paragraph 62 of the

complaint.

        63.     Municipal Defendants deny the allegations contained in paragraph 63 of the

complaint.



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        64.     Municipal Defendants deny the allegations contained in paragraph 64 of the

complaint.

        65.     Municipal Defendants deny the allegations contained in paragraph 65 of the

complaint.

        66.     Municipal Defendants deny the allegations contained in paragraph 66 of the

complaint.

G.       LPD Maintains An Ongoing Pattern, Practice, and/or Custom of Retaliation Against
         Officers Who Report Misconduct.

        67.     Municipal Defendants deny the allegations contained in paragraph 67 of the

complaint.

        68.     Municipal Defendants deny the allegations contained in paragraph 68 of the

complaint.

        69.     Municipal Defendants deny the allegations contained in paragraph 69 of the

complaint as incomplete.

        70.     Municipal Defendants deny the allegations contained in paragraph 70 of the

complaint.

H.      LPD Officers Lack Certification.

        71.     Municipal Defendants deny the allegations contained in paragraph 71 of the

complaint.

I.       The City of Lexington Maintains An Ongoing Policy, Practice, and/or Custom of
         Deliberate Indifference, Ratification, and Active Support of LPD.

        72.     Municipal Defendants deny the allegations contained in paragraph 72 of the

complaint.

        73.     Municipal Defendants deny the allegations contained in paragraph 73 of the

complaint.


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        74.     Municipal Defendants deny the allegations contained in paragraph 74 of the

complaint.

        75.     Municipal Defendants deny the allegations contained in paragraph 75 of the

complaint as incomplete.

        76.     Municipal Defendants deny the allegations contained in paragraph 76 of the

complaint.

J.       Chief Sam Dobbins’ racism and violence captured on leaked audio, in addition to the
         City of Lexington’s history of discrimination and disparate treatment, prove
         discriminatory intent and a pattern, practice, and/or custom of constitutional
         violations.

        77.     The allegations contained in paragraph 77 of the complaint refer to an audio

recording. Municipal Defendants deny any allegations inconsistent with the recording.

        78.     Municipal Defendants deny the allegations contained in paragraph 78 of the

complaint.

        79.     Municipal Defendants deny the allegations contained in paragraph 79 of the

complaint.

        80.     Municipal Defendants deny the allegations contained in paragraph 80 of the

complaint as characterized.

        81.     Municipal Defendants deny the allegations contained in paragraph 22 of the

complaint.

        82.     Municipal Defendants deny the allegations contained in paragraph 82 of the

complaint for lack of sufficient information.

        83.     Municipal Defendants deny the allegations contained in paragraph 83 of the

complaint.

        84.     Municipal Defendants deny the allegations contained in paragraph 84 of the

complaint.

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        85.     Municipal Defendants deny the allegations contained in paragraph 85 of the

complaint.

        86.     Municipal Defendants deny the allegations contained in paragraph 86 of the

complaint.

        87.     Municipal Defendants deny the allegations contained in paragraph 87 of the

complaint.

        88.     Municipal Defendants deny the allegations contained in paragraph 88 of the

complaint.

K.       Defendants Continue to Violate Black Citizens’ Constitutional Rights, Necessitating
         Plaintiffs’ Prayer for Relief.

        89.     Municipal Defendants deny the allegations contained in paragraph 89 of the

complaint.

        90.     Municipal Defendants deny the allegations contained in paragraph 90 of the

complaint.

        91.     Municipal Defendants admit the allegations contained in paragraph 91 of the

complaint.

        92.     Municipal Defendants deny the allegations contained in paragraph 92 of the

complaint for lack of sufficient information.

        93.     Municipal Defendants deny the allegations contained in paragraph 93 of the

complaint.

        94.     Municipal Defendants deny the allegations contained in paragraph 94 of the

complaint.

        95.     Municipal Defendants deny the allegations contained in paragraph 95 of the

complaint.



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        96.     Municipal Defendants deny the allegations contained in paragraph 96 of the

complaint.

        97.     Municipal Defendants deny the allegations contained in paragraph 97 of the

complaint.

        98.     Municipal Defendants deny the allegations contained in paragraph 98 of the

complaint for lack of sufficient information.

        99.     Municipal Defendants deny the allegations contained in paragraph 99 of the

complaint.

        100.    Municipal Defendants deny the allegations contained in paragraph 100 of the

complaint.

        101.    Municipal Defendants deny the allegations contained in paragraph 101 of the

complaint for lack of sufficient information.

        102.    Municipal Defendants deny the allegations contained in paragraph 102 of the

complaint.

        103.    The allegations contained in paragraph 103 of the complaint do not appear to

require a response. To the extent a response is required, Municipal Defendants admit only that

Plaintiffs have filed this lawsuit.

                                      CAUSES OF ACTION

                                      A.        COUNT ONE

Violation of the Equal Protection Clause of the Fourteenth Amendment Brought Pursuant
                    to § 1983 — All Plaintiffs Against All Defendants.

        104.    In response to the allegations contained in paragraph 104 of the complaint,

Municipal Defendants incorporate their prior responses to paragraphs 1 through 103.

        105.    Municipal Defendants deny the allegations contained in paragraph 105 of the

complaint as stating legal conclusions and as incomplete.

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        106.    Municipal Defendants deny the allegations contained in paragraph 106 of the

complaint.

        107.    Municipal Defendants deny the allegations contained in paragraph 107 of the

complaint.

        108.    Municipal Defendants deny the allegations contained in paragraph 108 of the

complaint.

                                     B.     COUNT TWO

    Violation of the Fourth Amendment to Be Free of Unreasonable Search and Seizure
            Brought Pursuant to § 1983 — All Plaintiffs Against All Defendants.

        109.    In response to paragraph 109 of the complaint, Municipal Defendants incorporate

their prior responses to paragraphs 1 through 108.

        110.    Municipal Defendants deny the allegations contained in paragraph 110 of the

complaint as stating legal conclusions and as incomplete.

        111.    Municipal Defendants deny the allegations contained in paragraph 111 of the

complaint.

        112.    Municipal Defendants deny the allegations contained in paragraph 112 of the

complaint as stating legal conclusions and as incomplete.

        113.    Municipal Defendants deny the allegations contained in paragraph 113 of the

complaint.

        114.    Municipal Defendants deny the allegations contained in paragraph 114 of the

complaint.

        115.    Municipal Defendants deny the allegations contained in paragraph 115 of the

complaint.

        116.    Municipal Defendants deny the allegations contained in paragraph 116 of the

complaint.

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                                   C.     COUNT THREE

 Violation of the Right to Travel Freely Under the Privileges and Immunities Clause of the
     Fourteenth Amendment Brought Pursuant to § 1983 — All Plaintiffs Against All
                                         Defendants.

        117.    In response to the allegations contained in paragraph 117 of the complaint,

Municipal Defendants incorporate their prior responses to paragraphs 1 through 116.

Municipal Defendants deny the allegations contained in the unnumbered paragraph following

paragraph 117 of the complaint as stating legal conclusions and as incomplete.

        118.    The allegations contained in paragraph 118 of the complaint merely quote

Supreme Court precedent and do not appear to require a response. To the extent a response is

required, Municipal Defendants deny the allegations as stating legal conclusions and as

incomplete.

        119.    Municipal Defendants deny the allegations contained in paragraph 119 of the

complaint.

        120.    Municipal Defendants deny the allegations contained in paragraph 120 of the

complaint.

        121.    Municipal Defendants deny the allegations contained in paragraph 121 of the

complaint.

        122.    Municipal Defendants deny the allegations contained in paragraph 122 of the

complaint.

                                    D.     COUNT FOUR

Violation of the Right to Free Speech Brought Pursuant to § 1983 — All Plaintiffs Against
                                     All Defendants.

        123.    In response to the allegations contained in paragraph 123 of the complaint,

Municipal Defendants incorporate their prior responses to paragraphs 1 through 122.



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        124.    Municipal Defendants admit the allegations contained in paragraph 124 of the

complaint as stating legal conclusions and as incomplete.

        125.    Municipal Defendants deny the allegations contained in paragraph 125 of the

complaint stating legal conclusions and as incomplete.

        126.    Municipal Defendants deny the allegations contained in paragraph 126 of the

complaint.

        127.    Municipal Defendants deny the allegations contained in paragraph 127 of the

complaint.

                                     E.     COUNT FIVE

 Violation of the Fourth Amendment to Be Free of Excessive Force Brought Pursuant to §
                       1983 — All Plaintiffs Against All Defendants.

        128.    In response to the allegations contained in paragraph 128 of the complaint,

Municipal Defendants incorporate their prior responses to paragraphs 1 through 127..

        129.    Municipal Defendants deny the allegations contained in paragraph 129 of the

complaint as stating legal conclusions and as incomplete.

        130.    Municipal Defendants deny the allegations contained in paragraph 130 of the

complaint.

        131.    Municipal Defendants deny the allegations contained in paragraph 131 of the

complaint.

                                     F.      COUNT SIX

 Violation of the Fourteenth Amendment Due Process Right to Be Free of Excessive Force
           Brought Pursuant to § 1983 — All Plaintiffs Against All Defendants.

        132.    In response to the allegations contained in paragraph 132 of the complaint,

Municipal Defendants incorporate their prior responses to paragraphs 1 through 131.




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        133.    Municipal Defendants deny the allegations contained in paragraph 133 of the

complaint as stating legal conclusions and as incomplete.

        134.    Municipal Defendants deny the allegations contained in paragraph 134 of the

complaint.

        135.    Municipal Defendants deny the allegations contained in paragraph 135 of the

complaint.

        136.    Municipal Defendants deny the allegations contained in paragraph 136 of the

complaint.

                                    G.      COUNT SEVEN

Violation of Title VI of the Civil Rights Act of 1964—All Plaintiffs Against All Defendants

        137.    In response to the allegations contained in paragraph 137 of the complaint

Municipal Defendants incorporate their prior responses to paragraphs 1 through 136.

        138.    Municipal Defendants deny the allegations contained in paragraph 138 of the

complaint as stating legal conclusions and as incomplete.

        139.    Municipal Defendants deny the allegations contained in paragraph 139 of the

complaint.

        140.    Municipal Defendants deny the allegations contained in paragraph 140 of the

complaint.

        141.    Municipal Defendants deny the allegations contained in paragraph 141 of the

complaint.

                                    PRAYER FOR RELIEF

        Municipal Defendants deny the allegations contained in the unnumbered paragraph

beginning with “WHEREFORE, Plaintiffs …”, including subparagraphs (A) through (G), and

Municipal Defendants further deny that Plaintiffs are entitled to any relief whatsoever.


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        Consistent with the answers and affirmative defenses set forth herein, Municipal

Defendants request that the complaint be dismissed, with all costs taxed to Plaintiffs and an

award of attorney’s fees be provided to Defendants.

        THIS the 12th day of September, 2022.

                                             Respectfully submitted,

                                             PHELPS DUNBAR LLP


                                             BY: /s/ Mallory K. Bland
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                                                 DEFENDANTS THE CITY OF
                                                 LEXINGTON, MISSISSIPPI AND
                                                 INTERIM CHIEF CHARLES
                                                 HENDERSON




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                                  CERTIFICATE OF SERVICE

        I certify that, on September 12, 2022, I had this Answer and Affirmative Defenses

electronically filed with the Clerk of the Court, using the CM/ECF system, which sent

notification of such filing to all counsel of record.




                                               /s/ Mallory K. Bland
                                               Mallory K. Bland




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